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 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                   CR.S. No. 2:12-CR-00080 TLN
13                             Plaintiff,
14                                                 STIPULATION AND ORDER TO
                   v.                              MODIFY CONDITIONS OF
15                                                 PRETRIAL RELEASE TO ADD A
16   BRETT TOWNSEND,                               DRUG TESTING CONDITION
17                            Defendant.
18
19
20         Mr. Townsend was released on conditions and is supervised by the Pretrial
21   Services Agency both in California and Pennsylvania. Based on the defendant's admitted
22   use of marijuana, Pretrial Services Officer Steven Sheehan has requested that a drug
23   testing condition be added to Mr. Townsend’s conditions of release.
24         The parties agree that the following special condition of release be added:
25         “You shall submit to drug and/or alcohol testing as approved by the pretrial
           services officer. You shall pay all or part of the costs of the testing services based
26         upon your ability to pay, as determined by the pretrial services officer.”
27
28         All previously ordered conditions remain in full force and effect.



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 1         Accordingly, the parties ask the Court to adopt this stipulation and add this
 2   condition to Townsend’s special conditions of release.
 3
 4
 5                                                            Respectfully submitted,
 6
 7   Dated: January 27, 2014                                  /s/ David D. Fischer
                                                              DAVID D. FISCHER
 8
                                                              Attorney for Defendant
 9                                                            BRETT TOWNSEND
10
11   Dated: January 27, 2014                                  /s/ David D. Fischer for
                                                              HEIKO P. COPPOLA
12                                                            Assistant United States Attorney
13                                                            Counsel for Plaintiff
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15         IT IS SO ORDERED
16   Dated: January 28, 2014
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